    Case 1:01-cv-12257-PBS Document 6528-50 Filed 09/22/09 Page 1 of 9




                               Exhibit 49



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
                Case 1:01-cv-12257-PBS Document 6528-50 Filed 09/22/09 Page 2 of 9
Farrand, Lise C. - October 28, 2008 09:00:00 a.m.




     1:1                  UNITED STATES DISTRICT COURT

       2                FOR THE DISTRICT OF MASSACHUSETTS

       3     -----------------------------------X

       4     In Re: PHARMACEUTICAL INDUSTRY         ) MDL No. 1456

       5     AVERAGE WHOLESALE PRICE LITIGATION ) Master File No.

       6     -----------------------------------) 01-CV-12257-PBS

       7     THIS DOCUMENT RELATES TO:              )

       8     United States of America ex rel.       ) Hon. Patti B.

       9     Ven-A-Care of the Florida Keys,        )     Saris

      10     Inc., et al. v. Dey, Inc., et al., )

      11     Civil Action No. 05-11084-PBS,         ) VIDEOTAPED

      12     and United States of America ex        ) DEPOSITION

      13     rel. Ven-A-Care of the Florida         ) OF THE NEW

      14     Keys, Inc., et al. v. Boehringer       ) HAMPSHIRE DEPT.

      15     Ingelheim Corp., et al., Civil         ) OF HEALTH &

      16     Action No. 07-10248-PBS and United ) HUMAN SERVICES

      17     States, ex rel. Ven-A-Care of the      ) BY LISE C.

      18     Florida Keys v. Abbott                 ) FARRAND

      19     Laboratories, Inc. Civil Action        )

      20     Nos. 06-CV-11337 and 07-CV-11618       ) OCTOBER 28, 2008

      21     -----------------------------------X

      22




September 10, 2009 4:26 pm                                                           Page 1
                Case 1:01-cv-12257-PBS Document 6528-50 Filed 09/22/09 Page 3 of 9
Farrand, Lise C. - October 28, 2008 09:00:00 a.m.




     2:1     Deposition of THE NEW HAMPSHIRE DEPARTMENT OF HEALTH

       2             AND HUMAN SERVVICES by LISE C. FARRAND

       3                         Concord, New Hampshire

       4                         Tuesday, October 28, 2008

       5                                    9:00 a.m.

       6

       7

       8

       9                         A P P E A R A N C E S

      10

      11     On behalf of the United States of America:

      12

      13            GEORGE B. HENDERSON, ESQ.

      14            Assistant United States Attorney

      15            United States Courthouse

      16            1 Courthouse Way

      17            Suite 9200

      18            Boston, MA      02210

      19            617-748-3272

      20            george.henderson2@usdoj.gov

      21

      22     (CONTINUED)




September 10, 2009 4:26 pm                                                           Page 2
                Case 1:01-cv-12257-PBS Document 6528-50 Filed 09/22/09 Page 4 of 9
Farrand, Lise C. - October 28, 2008 09:00:00 a.m.




  248:1                   MR. KATZ:      This is already marked.    You

       2     can mark it again if you want.

       3                  MR. HENDERSON:        It is.   Let's go ahead

       4     and mark it.        It will be quicker than finding the

       5     other copy.      Yes, my notes indicate this was also

       6     marked as Dey Exhibit 75.

       7                          (Exhibit Farrand USA 005 marked

       8     for identification.)

       9     BY MR. HENDERSON:

      10            Q.    But the same document is now marked

      11     Exhibit Farrand USA Exhibit 5.          And this

      12     describes changes to the co-pay and the

      13     dispensing fees.        Do you recall that these

      14     changes were made in approximately May of 1994?

      15            A.    Yes.

      16            Q.    And did you testify previously that one

      17     of the reasons for the increase in the dispensing

      18     fee for generic drugs was to encourage the

      19     dispensing of generic drugs?

      20            A.    I believe so, yes.

      21            Q.    Have this next exhibit marked as 6.

      22                         (Exhibit Farrand USA 006 marked




September 10, 2009 4:27 pm                                                           Page 248
                Case 1:01-cv-12257-PBS Document 6528-50 Filed 09/22/09 Page 5 of 9
Farrand, Lise C. - October 28, 2008 09:00:00 a.m.




  249:1      for identification.)

       2             Q.   This is a state Medicaid agency

       3     regional bulletin from HCFA Region 1, HCFA now

       4     known as CMS, dated -- this is dated September 6,

       5     1994.

       6                  Did the New Hampshire Health and Human

       7     Services periodically receive bulletins from HCFA

       8     Region 1 on Medicaid issues?

       9             A.   We got -- there were paper bulletins

      10     sent to the commissioner's office.          Whether or

      11     not they came from Region 1 or national, I don't

      12     know.

      13            Q.    Could you look at this and tell me

      14     whether you have any recollection of seeing it or

      15     knowing about the subject that's discussed here?

      16                  MR. KATZ:      Objection, form.

      17                  THE WITNESS:       I remember seeing

      18     something about the moratorium expiring.

      19     BY MR. HENDERSON:

      20            Q.    Just for the record, this describes or

      21     indicates that on December 31, 1994 a moratorium

      22     expires that prohibits states from reducing the




September 10, 2009 4:27 pm                                                           Page 249
                Case 1:01-cv-12257-PBS Document 6528-50 Filed 09/22/09 Page 6 of 9
Farrand, Lise C. - October 28, 2008 09:00:00 a.m.




  250:1      limits for covered outpatient drugs.

       2                  Is it possible that you may have seen

       3     this?

       4            A.    Yes.

       5            Q.    I'd like to ask you to look at page 2

       6     and ask you to read aloud the last paragraph of

       7     this memo starting "we would like to."

       8            A.    "We would like to clarify HCFA policy

       9     that a dispensing fee determination must be

      10     separate and distinct from the EAC determination

      11     and unrelated to the cost of the drug product.

      12     In every instance, regardless of the state

      13     determination of individual prescription payment

      14     limits, the state must have established the

      15     reasonable dispensing fees which would be used to

      16     determine whether the state is in compliance with

      17     the upper limits as specified in current drug

      18     regulations at 42 C.F.R. 447.331."

      19            Q.    In the mid 1990s, did you have an

      20     understanding that states should make their

      21     dispensing fee determination separate and

      22     distinct from the EAC determination?




September 10, 2009 4:27 pm                                                           Page 250
                Case 1:01-cv-12257-PBS Document 6528-50 Filed 09/22/09 Page 7 of 9
Farrand, Lise C. - October 28, 2008 09:00:00 a.m.




  251:1                   MR. KATZ:      Objection, form.

       2                  THE WITNESS:       I see that that's what

       3     this says.      I don't know that that was ever done

       4     by the state.

       5     BY MR. HENDERSON:

       6            Q.    Well, let me ask you.       When the --

       7     after the date of this, the next time when state

       8     of New Hampshire changed its or made changes to

       9     its reimbursement methodology was in relation to

      10     House Bill 32?

      11            A.    1996.

      12            Q.    Okay.     And are you aware of whether or

      13     not in determining the dispensing fee whether or

      14     not the state of New Hampshire took into account

      15     the cost of the drug?

      16                  MR. KATZ:      Objection, form.

      17     BY MR. HENDERSON:

      18            Q.    Was that part of the determination of

      19     dispensing fee?

      20            A.    No, I don't believe so.

      21            Q.    All right.      And conversely, when the

      22     state determined what the EAC should be, if you




September 10, 2009 4:27 pm                                                           Page 251
                Case 1:01-cv-12257-PBS Document 6528-50 Filed 09/22/09 Page 8 of 9
Farrand, Lise C. - October 28, 2008 09:00:00 a.m.




  252:1      know, did the state base that on the amount of

       2     costs of dispensing of the drug?

       3                  MR. KATZ:      Objection, form.

       4                  THE WITNESS:       No.

       5     BY MR. HENDERSON:

       6            Q.    So in that regard, was the state's

       7     determination of dispensing fee separate and

       8     distinct from its determination of Estimated

       9     Acquisition Cost?

      10                  MR. KATZ:      Objection, form.

      11                  THE WITNESS:       Yes.

      12     BY MR. HENDERSON:

      13            Q.    Are you aware of any policy or practice

      14     by the state of New Hampshire in the time that

      15     you've been working there to base Estimated

      16     Acquisition Cost in part on the cost of

      17     dispensing the drug?

      18            A.    No.

      19            Q.    And similarly, are you aware at any

      20     time that the state has based the dispensing fee

      21     in part on the costs of acquiring the drug?

      22                  MR. KATZ:      Objection, form.




September 10, 2009 4:27 pm                                                           Page 252
                Case 1:01-cv-12257-PBS Document 6528-50 Filed 09/22/09 Page 9 of 9
Farrand, Lise C. - October 28, 2008 09:00:00 a.m.




  253:1                   THE WITNESS:       No.

       2     BY MR. HENDERSON:

       3            Q.    Now if you could look at Dey Exhibit

       4     76.    It is a New Hampshire Medicaid Bulletin

       5     dated December 1995.         You gave some testimony on

       6     this earlier.       And you also mentioned House Bill

       7     32.    House Bill 32, what is your understanding or

       8     recollection of what that was?

       9            A.    It was a budget cut bill and it -- part

      10     of the budget cut was the Most Favored Nation

      11     definition, and basically it decreased

      12     reimbursement to just about every provider type

      13     in the Medicaid program.

      14            Q.    You said it was a House Bill.       Was it

      15     passed by the legislature?

      16            A.    Yes.

      17            Q.    There's a description in Exhibit 76 at

      18     the page marked in the lower right-hand corner,

      19     NH 03378.      Is that description consistent with

      20     your recollection of the law that you referred to

      21     as House Bill 32?

      22                  MR. KATZ:      Objection to form.




September 10, 2009 4:27 pm                                                           Page 253
